                     Case 6:17-bk-01366-CCJ             Doc 34      Filed 08/28/17       Page 1 of 1



                                                   ORDERED.

              Dated: August 28, 2017




                                  THE UNITED STATES BANKRUPTCY COURT
                                       MIDDLE DISTRICT OF FLORIDA
                                           ORLANDO DIVISION
                                           www.flmb.uscourts.gov

IN RE:                                                                     Case No. 6:17-bk-01366-CCJ

MONA MICHEL,

            Debtor(s).
________________________________________/

                                            ORDER DISMISSING CASE


         THIS CASE came before the court upon the Debtor’s Notice of Voluntary Dismissal (Document No.
33). The Court being fully advised in the premises finds that the request has merit and that this case should be
dismissed. Accordingly, it is hereby
         ORDERED AND ADJUDGED AS FOLLOWS:
         1.     This case is dismissed.
         2.     The automatic stay imposed by 11 U.S.C. Section 362 is terminated.
         3.     The Trustee shall refund all funds on hand, if any, to the Debtor(s) in care of the Debtor(s)
attorney, if represented by an attorney.
         4.     The Debtor, the Trustee, or any party in interest, may, within 14 days from the date of this Order,
request the Court to examine the fees paid to Debtor's attorney and request disgorgement of any portion deemed
excessive. The Court shall retain jurisdiction for this purpose.




Laurie K. Weatherford, Chapter 13 Trustee, is directed to serve a copy of this order on interested parties and file a proof
of service within three (3) days of the entry of the order.
